                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,
               Plaintiff,
v.                                             Case No. 18 CR 154

Van Mayes
                Defendant.


                            MOTION FOR TRAVEL


     COMES NOW the above named defendant,Van Mayes,through Attorney

Robert LeBell, and moves the court for an order to allow Mr. Mayes

to travel as outlined below:

     Mr. Mayes will be traveling to Indianapolis Indiana Friday

6/19/2020, and returning to Milwaukee on Sunday, 6/21/2020. The

purpose of this trip is to attend a family member’s funeral. Mr.

Mayes will make this trip by car. Mr. Mayes will be staying at his

brother,    Orlando    Harris’s   house   at    10244   Trenkamp    Court,

Indianapolis, Indiana.

     Counsel’s paralegal has conferred with AUSA Chris Ladwig, who

has indicated no objection to this request. Additionally, USPO

Hannah Graham stated that she has no objection to this travel.

However, she is waiting for investigative reports regarding a

traffic stop of Mr. Mayes and an alleged violation of the recent

ly imposed curfew.


     Dated at Milwaukee, Wisconsin this 18th day of September, 2019.


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                       Respectfully submitted,

                       /s/ Robert G. LeBell

                       Robert G. LeBell, 01015710
                       LeBELL, DOBROSKI, & MORGAN, LLP
                       1223 N. Prospect Avenue
                       Milwaukee, WI 53202
                       Telephone: (414) 276-1233
                       Facsimile: (414) 239-8565
                       dorbell@ldm-law.com




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